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                                EXHIBIT 3
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         United States Department of
         Agriculture


                   DELIBERATIVE, PRE-DECISIONAL, FOR INTERNAL COORDINATION ONLY

Topic: Council on Environmental Quality Categorical Exclusion Guidance
Date: September 30, 2020
Contact: Christine Dawe, Director, NFS-EMC; 406-370-8865; christine.dawe@usda.gov

Issue Summary: In substantiating the new and expanded CEs in its NEPA rulemaking, the Forest Service relied on
the process outlined in CEQ's 2010 guidance document, "Establishing, Applying, and Revising Categorical
Exclusions under the National Environmental Policy Act."

Key Points:
   • CEQ states in its final rule that it will provide notice in the Federal Register listing withdrawn guidance and
      that it will issue updated or new guidance consistent with Presidential directives. The Forest Service
      anticipates that CEQ's 2010 CE guidance will be withdrawn.

   •   However, CEQ's 2010 CE guidance was in effect during much of the development of the CEs in the FS final
       rule, is still in effect as of the date of this briefing paper, and outlines a process for establishing CEs that is
       logically sound.

   •   During CEQ's Federal NEPA Contacts meeting on August 27, 2020, it explained that agencies developing
       new CEs should adhere to recent agency practice in doing so. The Forest Service is following the process it
       used in 2013 to substantiate a series of soil and water restoration CEs.

   •   Per 40 CFR 1507.3, CEQ has determined that the categorical exclusions contained in agency NEPA
       procedures as of September 14, 2020 are consistent with the revised CEQ regulations. Prior to the Forest
       Service publishing a final rule, it must receive a determination from CEQ that the final rule is in conformity
       with NEPA and CEQ's regulations. This conformity determination will be included in the administrative
       record for the rule.




       Forest Service
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